Case 3:19-cr-01593-KC Document 33 Filed 10/06/23 Page 1 of 2

‘\. Prob 12C (7/93)

UNITED STATES DISTRICT COURT

for CLER

WESTERN DISTRICT OF TEXAS

DEPUTY CLERR
Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Bryan Alexis Garcia-Rodriguez; Aka: Bryan Alex Garcia
Case Number: EP-19-CR-1593KC(1)

Name of Sentencing Judicial Officer: Kathleen Cardone, U.S. District Judge
Date of Original Sentence: August 12, 2019

Original Offense: Illegal Re-entry, in violation of 8 U.S.C. § 1326(a)

Original Sentence: Five (5) years of non-reporting probation

Type of Supervision: Probation (non-reporting)

Date Supervision Commenced: August 12, 2019

Assistant U.S. Attorney: Stephen G. Jurecky Defense Attorney: Alex A. Melendez
a ee a  Y

PETITIONING THE COURT
[X] To issue a warrant
[ ] To issue a summons
The probation officer believes that the offender has violated the following conditions of supervision:
Violation Number 1: If ordered deported from the United States, the defendant must remain outside the
United States. If the defendant re-enters the United States, he or she must report to the nearest probation

office within 72 hours of his or her return. If released from confinement or not deported, the defendant
must report to the nearest probation office within 72 hours.

Nature of Noncompliance: On September 20, 2023, the U.S. Probation Office in the
Western District of Texas, El Paso Division, received an ATLAS notification indicating
Bryan Alexis Garcia-Rodriguez, a native and citizen of Mexico, had been arrested in
Riverside, California on an outstanding warrant. On September 26, 2017, Garcia-Rodriguez
was initially arrested in Riverside, California for Inflict Corporal Injury/Spouse (Ct. 1) and
False Imprisonment (Ct. 2). However, a warrant was subsequently issued on December 3,
2018 for Failure to Appear. Thereafter, on September 7, 2023, Garcia-Rodriguez was
arrested on this outstanding warrant. According to records received from the Riverside
County Superior Court, on September 11, 2023, Garcia-Rodriguez was convicted for the
False Imprisonment charge. The Inflict Corporal Injury/Spouse was dismissed. Garcia-

Case 3:19-cr-01593-KC Document 33 Filed 10/06/23 Page 2 of 2

?

Bryan Alexis Garcia-Rodriguez
Aka: Bryan Alex Garcia
Docket No. EP-19-CR-1593KC(1)
Petition for Warrant or Summons for Offender Under Supervision
Page 2

Rodriguez was sentenced to 36 months probation with 90 days custody to be served in the
custody of the Riverside County Sheriff's Office under Dkt. No. RIF1705057. It should be
noted, Garcia-Rodriguez was previously removed to Mexico on August 14, 2019, and, as of
this writing, he has not reported to the nearest probation office within 72 hours of his return
to the United States. As of this writing, Garcia-Rodriguez’ whereabouts are unknown.

U.S. Probation Officer Recommendation:

The term of supervision should be
[X] revoked.

[ ] extended for years, for a total term of years.

{ ] modified as follows:

Respectfully submitted, Approved by,

SS Flbe W Dbl. Deh Fog

Salvador Madrid David C. Trejo

Senior U.S. Probation Officer Supervising U.S. Probation Officer
Office (915) 585-6584 Office (915) 585-5576

Cellular (915) 269-5088 Cellular (915) 861-8369

Date: October 4, 2023

THE COURT ORDERS:
{[ ] Noaction.
(X) The issuance of a warrant.

{ ] The issuance of a summons.

[ ] Other

C1 el toe

. District Judge

en Cardone,

October 5, 2023

Date
